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               9                      UNITED STATES DISTRICT COURT
              10                   NORTHERN DISTRICT OF CALIFORNIA
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              12 F. KORBEL & BROS., a California            Case No. 4:21-cv-05033-HSG
                 corporation,
              13                                            ORDER GRANTING JOINT
                               Plaintiff,                   STIPULATION OF DISMISSAL
              14                                            WITH PREJUDICE
                        vs.
              15
                 KOBLER ESTATE, LLC, a California           [Filed Concurrently with Joint
              16 limited liability company; and DOES 1      Stipulation of Dismissal with Prejudice]
                 to 10, inclusive,
              17
                               Defendants.                  Action filed: June 29, 2021
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LOS ANGELES
                        ORDER GRANTING JOINT STIPULATION OF DISMISSAL WITH PREJUDICE
                     Case 4:21-cv-05033-HSG Document 18 Filed 09/29/21 Page 2 of 2




               1                                        ORDER
               2                                               tipulation of Dismissal with Prejudice,
               3 and good cause having been shown, the Court hereby dismisses the above-captioned
               4 action in its entirety with prejudice pursuant to Federal Rule of Civil Procedure 41,
               5 with each party to bear its
               6        IT IS SO ORDERED.
               7
               8 Dated: 9/29/2021
               9                                         _____________________________________
                                                         Hon. Haywood S. Gilliam, Jr.
              10
                                                         United States District Court
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LOS ANGELES
                             ORDER GRANTING JOINT STIPULATION OF DISMISSAL WITH PREJUDICE
